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 1                                 UNITED STATES DISTRICT COURT
 2                              IN AND FOR THE DISTRICT OF NEVADA

 3    UNITED STATES OF AMERICA,                 )
                                                )
 4                           Plaintiff,         )
                                                )     Case No.:    2:12-CR-00063-PMP-NJK
 5
      vs.                                       )
 6                                              )     ORDER GRANTING
                                                )     DEFENDANTS’ MOTION FOR
 7    Ross Hack                                 )     EXTENSION OF TIME
      Melissa Hack                              )
 8          Defendants.                         )
 9    ______________________                    )

10                     NOW COME the Defendants Ross Hack and Melissa Hack upon their joint
11    Motion For Extension of Time (from June 3, 2013 until June 24, 2013) to submit their
12
      Memoranda relative to pre-authorization to counsel for the United States. GOOD CAUSE
13
      APPEARING, and for the reasons set forth in the defendants’ Motion for Extension of
14
      Time, the Motion is GRANTED.
15
16            The defendants Ross Hack and Melissa Hack must submit their Memoranda

17    relative to pre-authorization upon counsel for the United States on or before June 24,
18    2013.
19
              IT IS SO ORDERED.
20
              Dated:     May 21, 2013.
21                                                    Hon. Philip M. Pro
                                                      United States District Judge
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